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           Exhibit G
(previously filed as Dkt. 660-7)
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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                        ALEXANDRIA DIVISION




       United States of America, et al.,

                                           Plaintiffs,         Case No. 1:23-cv-00108-LMB-JFA
       v.
                                                               Hon. Leonie H. M. Brinkema
       Google LLC,

                                           Defendant.




                      EXPERT SUPPLEMENTAL REPORT OF ROBIN S. LEE, PHD



                                                     March 4, 2024




      HIGHLY CONFIDENTIAL
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